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                   Attorneys for Plaintiffs
          10       WHATSAPP INC. and FACEBOOK, INC.

          11
                                                    UNITED STATES DISTRICT COURT
          12
                                                NORTHERN DISTRICT OF CALIFORNIA
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                   WHATSAPP INC., a Delaware corporation,             Case No. 3:19-cv-07123
          15       and FACEBOOK, INC., a Delaware
                   corporation,                                       NOTICE OF APPEARANCE
          16                                                          OF KYLE C. WONG

          17                          Plaintiffs,

          18              v.

          19       NSO GROUP TECHNOLOGIES LIMITED
                   and Q CYBER TECHNOLOGIES LIMITED,
          20
                                      Defendants.
          21

          22
                          Plaintiffs WhatsApp Inc. and Facebook, Inc. file this Notice of Appearance and hereby notify
          23
                   the Court and Defendants that Kyle C. Wong of the law firm Cooley LLP, 101 California Street,
          24
                   5th Floor, San Francisco, California 94111, hereby enters his appearance as counsel of record for
          25
                   Plaintiffs in the above-referenced matter.
          26
                   ///
          27
                   ///
          28
  COOLEY LLP                                                               NOTICE OF APPEARANCE OF KYLE C. WONG FOR
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                 1.       PLAINTIFFS WHATSAPP INC. AND FACEBOOK, INC.
                                                                                              CASE NO. 3:19-CV-07123
                         Case 4:19-cv-07123-PJH Document 13 Filed 11/26/19 Page 2 of 2



            1             All pleadings, discovery, correspondence, and other material should be served upon

            2      counsel at:

            3             Kyle C. Wong (kwong@cooley.com)
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            7      Dated: November 26, 2019                   COOLEY LLP
                                                              TRAVIS LEBLANC (251097)
            8                                                 KYLE C. WONG (224021)
                                                              JOSEPH MORNIN (307766)
            9

          10
                                                              /s/ Kyle C. Wong
          11                                                  Kyle C. Wong
                                                              Attorneys for Plaintiffs
          12                                                  WHATSAPP INC. and FACEBOOK, INC.
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  COOLEY LLP                                                               NOTICE OF APPEARANCE OF KYLE C. WONG FOR
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                 2.       PLAINTIFFS WHATSAPP INC. AND FACEBOOK, INC.
                                                                                              CASE NO. 3:19-CV-07123
